          Case 6:20-cv-00585-ADA Document 154 Filed 04/25/23 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


WSOU INVESTMENTS LLC,                                §
                                                     §
                     Plaintiff                       §
                                                     §
-vs-                                                 §                6:20-CV-00585-ADA
                                                     §
GOOGLE LLC,                                          §
                                                     §
                     Defendant                       §

                            ORDER ON MOTIONS IN LIMINE

         The Court issues this Order sua sponte. To allow for reasonable and relevant limine

practice as part of the Pretrial Conference, the Court imposes the following set of standard

limine rulings to be applied mutually to both parties. In addition to these limine orders, each

party will be permitted to propose and argue (if opposed) up to five (5) of its own motions in

limine at the Pretrial Conference. Limine motions outside these limits will not be considered.

Limine motions that are multifarious so as to exceed the above limitations will also not be

considered.

         It is therefore ORDERED that the Parties, their witnesses, and counsel shall not raise,

discuss, or argue the following before the venire panel or the jury without prior leave of the

Court:

  Court MIL No. 1:          The parties shall be precluded from introducing evidence,
                         testimony, or argument regarding pretrial proceedings or issues
                         including but not limited to discovery disputes or dispositive
                         motion practice.

  Court MIL No. 2:          The parties shall be precluded from introducing evidence,
                         testimony, or argument that raises religious or political beliefs,
                         race, ethnicity, gender, national origin, sexual orientation, or
                         health (including but not limited to vaccination status) of a party,
                         witness, attorney, or law firm.



                                                 1
      Case 6:20-cv-00585-ADA Document 154 Filed 04/25/23 Page 2 of 4




Court MIL No. 3:       The parties shall be precluded from introducing evidence,
                    testimony, or argument concerning any party’s overall financial
                    size, wealth, or executive compensation.

Court MIL No. 4:       The parties shall be precluded from introducing evidence,
                    testimony, or argument regarding prior art that is not disclosed
                    in a specific combination set forth in any party’s expert report or
                    invalidity contentions.

Court MIL No. 5:       The parties shall be precluded from introducing evidence,
                    testimony, or argument before the jury that relates only to
                    equitable defenses or counterclaims (i.e., evidence that does not
                    also serve another evidentiary purpose relevant to jury issues).

Court MIL No. 6:       The parties shall be precluded from introducing evidence,
                    testimony, or argument concerning the Patent Trial and Appeal
                    Board, inter partes review, the Smith-Leahy America Invents Act,
                    or any alternative structure that does not relate directly to an
                    Article III trial in a district court.

Court MIL No. 7:        The parties shall be precluded from introducing evidence,
                    testimony, or argument suggesting that there is anything legally
                    improper in filing a patent application or writing patent claims to
                    cover an adverse party’s product.

Court MIL No. 8: The parties shall be precluded from introducing any argument,
                 evidence, testimony, insinuation, reference, or assertion
                 regarding a witness’ choice to testify in his or her native or chosen
                 language (being any language other than English).

Court MIL No. 9:       The parties shall be precluded from introducing evidence,
                    testimony, or argument referring to any other person or entity
                    as “greedy,” “corrupt,” “evil,” or “dishonest,” or using any other
                    pejorative term. The parties shall also be precluded from
                    introducing evidence, testimony, or argument that characterizes
                    any other person or entity’s actions as “stealing,” “copying,”
                    “misappropriating,” “pirating,” “trespassing,” or any similar
                    terms.

Court MIL No. 10:      The parties shall be precluded from introducing evidence,
                    testimony, or argument bolstering or disparaging the U.S. Patent
                    Office, its examiners, or the process for prosecuting patent
                    applications or granting patents in the United States. This does
                    not preclude factual evidence as to the operations of the USPTO.




                                           2
     Case 6:20-cv-00585-ADA Document 154 Filed 04/25/23 Page 3 of 4




Court MIL No. 11:      The parties shall be precluded from introducing evidence,
                    testimony, or argument referring to any other person or entity in
                    disparaging ways, such as a “patent troll,” “pirate,” “bounty
                    hunter,” “bandit,” “playing the lawsuit lottery,” “shell
                    company,” “shakedown artist,” “patent assertion entity,” or any
                    such similar terms. Use of the term “non-practicing entity” is
                    permitted.

Court MIL No. 12:      The parties shall be precluded from introducing evidence,
                    testimony, or argument regarding funding of the litigation or
                    regarding any comment on attorney-fee compensation including
                    amounts or structure.

Court MIL No. 13:      The parties shall be precluded from introducing evidence,
                    testimony, or argument regarding either party’s other litigations
                    or arbitrations, including parallel proceedings in any other court,
                    tribunal, or forum, including ADR proceedings.

Court MIL No. 14:      The parties shall be precluded from introducing evidence,
                    testimony, or argument regarding the size of the parties’ law firms
                    or the number of attorneys representing the parties.

Court MIL No. 15:      The parties shall be precluded from introducing evidence,
                    testimony, or argument regarding the fact that testimony or
                    opinions offered by any expert may have been criticized,
                    excluded, or found to be unreliable in any other forum.

Court MIL No. 16:      The parties shall be precluded from introducing evidence,
                    testimony, or argument referring to the role or presence in the
                    courtroom of jury consultants or shadow jurors, or the use of
                    focus groups or mock proceedings to assist with trial preparation,
                    jury selection, or trial.

Court MIL No. 17:      The parties shall be precluded from introducing evidence,
                    testimony, or argument relating to the Court’s Claim
                    Construction Order other than the Court’s actual adopted
                    constructions, including the Court’s reasoning or the parties’
                    agreements.

Court MIL No. 18:      The parties shall be precluded from introducing evidence,
                    testimony, or argument for purposes of non-infringement
                    comparing the accused product or method to the preferred
                    embodiments, the specification, or any non-accused product or
                    method.

Court MIL No. 19:     The parties shall be precluded from introducing evidence,



                                           3
       Case 6:20-cv-00585-ADA Document 154 Filed 04/25/23 Page 4 of 4




                      testimony, or argument suggesting that a verdict in one party’s
                      favor would impact the cost of goods or services or would have
                      other commercial impacts.

  Court MIL No. 20:      The parties shall be precluded from introducing evidence,
                      testimony, or argument suggesting that the Western District of
                      Texas is an improper or inconvenient venue in which to try this
                      case.

  Court MIL No. 21:      The parties shall be precluded from introducing evidence,
                      testimony, or argument suggesting that the other party had an
                      affirmative duty to seek opinion of counsel, and/or any inference
                      that may be drawn as to what the contents of such an opinion
                      would have been.

  Court MIL No. 22:     Neither party will ask questions or make statements to invoke a
                      privileged or protected answer, including any materials that are
                      privileged, or that have been presented outside of the jury to
                      establish/prevent a finding of privilege.

  Court MIL No. 23:     No expert witness may testify to expert opinions outside the
                      established parameters of her/his expert report, and counsel shall
                      not raise such an objection for strategic or other non-meritorious
                      purposes.

So ORDERED this 25th day of April, 2023.




                                   ALAN D ALBRIGHT
                                   UNITED STATES DISTRICT JUDGE




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